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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                         :
  LARA M. SANDERS on behalf of
                                         :                      Case:    19-996(JLL)
  themselves and all other similarly situated
                                         :
  consumers,
                                         :
                              Plaintiff, :
                                         :
                 - against -             :
                                         :
  CACH, LLC, RESURGENT HOLDINGS          :
  LLC, and RESURGENT CAPITAL             :
  SERVICES L.P.,                         :
                                         :
                             Defendant.

                   BRIEF IN OPPOSITION TO DEFENDANTS’ MOTION

        Plaintiff LARA M. SANDERS (“Plaintiff”) on behalf of themselves and all other

 similarly situated consumers, by counsel Law Offices of Lawrence Katz submits the following

 opposition to Defendants CACH LLC, RESURGENT HOLDINGS LLC, and RESURGENT

 CAPITAL SERVICES L.P., (“Defendants”) pre-answer motion to dismiss, dated June 13, 2019.



                                PRELIMINARY STATEMENT
        This case involves several claims alleged under the Fair Debt Collection Practices Act

 (FDCPA), breach of contract, and Fair Credit Reporting Act (FCRA).

        The Plaintiff duly filed her complaint on June 23, 2019 (ECF 1), subsequently by Order

 dated May 15, 2019 the Court directed that Plaintiff may file her amended complaint (ECF 19),

 thereafter, on May 30, 2019 Plaintiff duly filed her Amended Complaint (ECF 21).


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        In the Memorandum in support of Defendants’ Rule 12(b) motion, they manipulate and

 cherry-pick factual allegations of the Amended Complaint they wish to address and deliberately

 leave out the factual contents essential to the Plaintiff’s causes of action. As the Court is aware,

 the allegations in the Amended Complaint are to be assumed as true in the light most favorable

 to Plaintiff. In short, the Court may not rely on Defendants self-serving summation of the

 Amended Complaint but must test the sufficiency of the amended complaint on its own.



                        THE ESSENCE OF THE CAUSES OF ACTION
        Resurgent Holdings LLC (“Resurgent Holdings”) acquired Cach LLC (“Cach”) in a

 Chapter 11 bankruptcy. Afterwards, Cach sued Plaintiff for a consumer debt, which was settled

 and dismissed with prejudice (“settlement”). (ECF 21-1, 21-6). The Amended Complaint alleges

 that two months after the settlement that Defendants (individually or acting in concert with each

 other) reported the settled debt on Plaintiff’s credit report as past due. The essential dates for

 liability, which Defendants obfuscate, are February 7, 2018 and February 13, 2018.

        The Amended Complaint states, on February 7, 2018, Defendants updated the debt on

 Plaintiff’s credit report as owed in full without recognizing the settlement amount and the update

 was made in the sole name of Cach. (ECF 21 ¶ 32).

        The amended complaint states, on or about February 13, 2018, the resolved debt was

 reported as an “open account” still “>in collection<” owing $14,372.00, (an amount claimed in

 the dismissed lawsuit less the $1,000.00 settlement payment). (ECF 21 ¶ 34). This report was

 made in the name of Cach in care of Resurgent Capital Services (Resurgent Capital). (Id.)

        The foregoing two dates are the core of this entire lawsuit. The amended complaint offers

 a historical breakdown of the facts by providing the history of how Defendants bait-and-switch

 the names of their alter egos resulting in confusion to the consumer.


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             DEFENDANTS BAIT-AND-SWITCH TO CONFUSE THE CONSUMER
         Utilizing the bankruptcy of Cach, the Defendants bait-and-switch to confuse the

 consumer as to who is the responsible party for servicing any alleged consumer debt.

         Defendants bait-and-switch is exemplified by the attachment of the bankruptcy order

 approving a prepetition plan for Cach as a debtor affiliate with SquareTwo Financial Services

 Corp. (Bankruptcy Order). (ECF 23-1). This bankruptcy order, 154 pages long, has all sorts of

 names that are defined with different superficial words, references to other documents in that

 bankruptcy proceeding not attached to that order1, and requires a comprehensive exhaustion of

 bankruptcy procedure to explain and dispel every myth that Defendants are attempting to throw

 at the Court regarding that bankruptcy order.

         Defendants failed to disclose the Transition Services Agreement because it specifies that

 Resurgent Holding is the “buyer” of Cach, and Resurgent Capital is the “Master Servicer” of all

 the consumer debt portfolios. (See attached Exhibit 1). In the bankruptcy order, this Transition

 Service Agreement is referenced in Article I ¶ 1.112 as part the Funding Plan that the bankruptcy

 order approved (ECF 23-1 p. 65), demonstrating that Resurgent Holding is the face behind Cach.

         To summarize the Cach’s bankruptcy in plain terms: Resurgent Holdings stepped in as a

 third-party investor to buyout 100% of Cach’s interest. (ECF 23-1 p. 22 ¶ 15). The payment

 amount Resurgent Holdings paid for Cach became the bankruptcy estate, upon which all

 creditors are to be satisfied. The new owner of Cach is Resurgent Holding and meanwhile the

 bankruptcy estate is designated as a Reorganized Debtor (or as related herein Reorganized

 Cach); a designation made for purposes of dissolving the estate. (ECF 23-1 p. 21 ¶¶ 10-13). In




         1
            Such as “Capitalized terms not defined herein shall have the meanings given them in the Plan Funding
 Agreement, the RSA, and the TSA, as applicable” ECF 23-1 p.54 n. 2. “Transition Services Agreement (as defined
 in the Plan Funding Agreement.” ECF 23-1 p. 65 ¶ 1.112.


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 order to have a bankruptcy court approve such arrangement, a debtor must submit a “plan” to

 repay the creditors. Resurgent Holdings is called the “Plan Investor” for having stepped in as the

 investor to buyout Cach. (ECF 23-1 p. 65 ¶ 1.111). In sum, the right hand is the owner and the

 left hand is the servicer; but the trinity of Resurgent Capital, Resurgent Holding, and Cach

 involve one body united as one personality for handling the consumer’s debt.

        As noted by ECF 23-1, the Plan was approved on June 9, 2017 and Resurgent Holdings

 became the new owner of Cach. On July 20, 2017, Cach commenced a consumer debt claim

 against Plaintiff in state court. (ECF 21-3). Nowhere did the Defendants disclose to the consumer

 that Resurgent Capital is the servicer of the alleged consumer debt.

        Afterwards came the events essential to the Amended Complaint, on January 30, 2018

 Resurgent Capital verified the settlement. (ECF 21 ¶ 33, 21-6). On February 7, 2018, the

 Defendants updated Plaintiff’s credit report and communicated that the consumer debt is owed in

 full ($15,372) (without recognizing the settlement amount) and this update was made in the sole

 name of Cach, without naming Resurgent Holdings or Resurgent Capital. On February 13, 2018,

 the resolved debt was reported again as an open account still “in collection” owing $14,372.00

 (an amount claimed in the underlying state complaint of Cach less the $1,000.00 settlement

 payment), a report made in the name of Cach in c/o Resurgent Capital. (ECF 21 ¶ 34, 21-7).

        The Defendants system of bait-and-switch utilizing alter egos are obvious, first telling the

 consumer you owe nothing more, then flip-flopping and telling the consumer that she owes the

 entire amount implying that settlement payment is meaningless, and then switching again saying

 that you just owe the balance less the settlement amount. This bait-and-switch is playing fast and

 loose with the consumer and misleading and confusing the consumer.




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        Moreover, the consumer having settled with Cach received a settlement letter from

 Resurgent Capital confirming so, the collector flips back in the name of Cach to tell the

 consumer that the entire amount is owed, and then Resurgent Capital in its bait-and-switch with

 the consumer reports as owing the full balance less the $1,000 payment of the settlement amount.

 The use of alter egos and playing fast and loose with the consumer is the very type of “abusive,

 deceptive, and unfair debt collection practices” that Congress sought to end. 15 U.S.C. 1692(a).

        The Court should consider this debt history and note how confusing that is to a consumer

 and certainly was to Plaintiff as she was forced to further engage the services of an attorney. The

 Amended Complaint alleges that Defendants play fast and loose with the consumer,

 “intentionally continue collecting on resolved debt to humiliate the consumer in an attempt to

 extract further payment and in misleading the consumer into thinking that the only way to avoid

 a negative credit report is to make a payment for the full collection amount irrespective of the

 settlement amount previously negotiated by that consumer’s attorney.” (ECF 21 § 41).

        In the alternative, all the Defendants are represented by the same counsel, and answering

 the question of who did what is fairly accessible to the same counsel. Yet Defendants have not

 produced any documentation to absolve either Defendants from being a party to the false

 communication at issue. As discussed herein the Bankruptcy Order simply confirms that

 Defendants are a singular unit when it comes to handling Plaintiff’s debt.



                                    COUNTER-ARGUMENTS
        Defendants plainly have recycled arguments without absolving any of the Plaintiff’s

 causes of action, especially since the Defendants obfuscate essential facts giving rise to the

 Amended Complaint.




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        Responding Point I: FRCP 8(d) provides that (2) “A party may set out 2 or more

 statements of a claim or defense alternatively or hypothetically, either in a single count or

 defense or in separate ones. If a party makes alternative statements, the pleading is sufficient if

 any one of them is sufficient.” And (3) “A party may state as many separate claims or defenses

 as it has, regardless of consistency.”

        The first claim for relief has two counts (¶¶ 68-71) and one alternative-hypothetical claim

 (¶72). In Point I of its arguments, Defendants have placed their focus on ¶ 72, the alternative-

 hypothetical claim and falsely asserts that they were not attempting to collect a debt.

         As explained above, on February 7 and 13 of 2018, Defendants advanced collection

 against Plaintiff on a resolved debt. If assuming that Defendants may have a colorable defense

 for such collection activity, then the Amended Complaint has set forth a valid alternative-

 hypothetical claim that Defendants failed to provide the elementary information required

 pursuant to §§1692g(a)(1),(2), (5). At this point in the case, Defendants have not filed an

 answer, and therefore it is impossible for the court at this juncture to rule out the potential

 defenses to the first causes of action and such corresponding alternative-hypothetical claim.

        Responding to Point II: The essential dates for liability, which Defendants obfuscate,

 are February 7, 2018 and February 13, 2018. Since the complaint was filed on January 23, 2019,

 the FDCPA’s one-year statute of limitations has not run.

        Responding to Point III: The Third Circuit held in the context of the FDCPA, a “debt

 collector’ may be held vicariously liable for unlawful collection activities carried out by another

 on its behalf.” Barbato v. Greystone All., LLC, 916 F.3d 260, 269 (3d Cir. 2019). The

 “principal-agent relationship requires that the principal either control or have the right to direct

 or control the agent.” Id. “Although the Fourth Circuit has not yet ruled on vicarious liability




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 under the FDCPA, more courts than not ‘support the notion that an entity which itself meets the

 definition of debt collector may be held vicariously liable for unlawful collection activities

 carried out by another on its behalf.” Long v. Pendrick Capital Partners II, LLC, 374 F. Supp. 3d

 515, 534 (D. Md. 2019). “That is because a debt collector should not be able to avoid liability for

 unlawful debt collection practice simply by contracting with another company to do what the law

 does not allow it to do itself.” Id. It is the law of this Circuit, “an entity that otherwise meets the

 ‘principal purpose’ definition cannot avoid the dictates of the FDCPA merely by hiring a third

 party to do its collecting.” Barbato at 261.

         The amended complaint uses distinct names so the Court could easily identify the hat

 Defendants used to commit each act. It is important to note, Cach is no longer an independent

 debt collector and no longer acts on its own when collecting debt. (See Exhibit 2, a true copy of a

 printout of its website). As explained above, Resurgent Holdings is the owner of Cach’s

 consumer debt portfolio and Resurgent Capital services those accounts; Resurgent Holdings

 cannot claim ignorance from the acts committed in the name of Cach by Resurgent Capital.

         Here the Amended Complaint also alleges acts attributed by Resurgent Holdings.

 Namely, on February 7, 2018, an update of the debt was made on Plaintiff’s credit report as past

 due (in full without recognizing the settlement amount). The February 7, 2018 update was made

 in the sole name of Cach. Since Cach no longer operates as an independent corporation,

 Resurgent Holdings is responsible for all acts committed in the name of Cach.

         Given that at all relevant times (since June 9, 2017 (ECF 23-1)) Resurgent Holdings and

 Resurgent Capital are the successors of Cach, and since all the relevant factual allegations of the

 Amended Complaint referring to Cach happened through Resurgent Holdings and Resurgent

 Capital using the name of Cach, and since Resurgent Holdings has the right to direct or control




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 Cach, the Amended Complaint properly incorporates Resurgent Holdings for its vicarious

 liability. See ECF 21 ¶¶ 68-71. The allegation here is that Defendants, individually or in concert

 with each other, reported a false debt.

        Point IV: Contrary to Defendants argument, the settlement entered into with Cach (ECF

 21-1) and the confirmation of the settlement (ECF 21-6) confirm a mutually executed contract

 based on consideration; Block v. Seneca Mortg. Servicing, 221 F. Supp. 3d 559, 572 (D.N.J.

 2016). The Court also held that “it would be premature to rule out the possibility of damages

 beyond monetary loss where Plaintiffs state that they have suffered adverse credit consequences

 because of Defendant's breach [of contract].” Id at 577–78.

        Plaintiff has pled damages in several ways. First, Defendants caused Plaintiff the costs of

 having to further retain counsel. (ECF 21 ¶ 79). Second, a statute can define an egregious act

 that is a cause for damages. The FDCPA has clearly defined the misrepresentation of a debt as

 fraud and cause for damages. See § 1692e. The Amended Complaint pleads, “Defendants injured

 Plaintiff’s right to receive truthful information regarding the subject collection of a debt.” (ECF

 21 ¶ 39). Third, Defendants “attempt[ed] to extract further payment and in misleading the

 consumer into thinking that the only way to avoid a negative credit report is to make a payment

 for the full collection amount irrespective of the settlement amount previously negotiated by that

 consumer’s attorney.” (ECF 21 ¶ 41). These elements adequately plead for an award of

 quantifiable damages, of at least nominal damages, while the actual figures of damages are

 properly reserved for trial.

        Indeed, damage to a credit report and costs incurred with correcting such damage are an

 adequate plea of damages. Heyman v. Citimortgage, Inc., No. 14-1680-KM-MAH, 2019 WL

 2642655, at *25 (D.N.J. June 27, 2019), Cave v. Saxon Mortg. Servs., Inc., No. CIV.A. 12-5366,




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 2013 WL 1915660, at *11 (E.D. Pa. May 9, 2013), Wigod v. Wells Fargo Bank, N.A., 673 F.3d

 547, 575 (7th Cir. 2012).

        Point V: Contrary to Defendants argument, the Amended Complaint pleads for a cause of

 action under 15 U.S.C.A. § 1681s-2(b); there is no mention of any claim under § 1681s-2(a).

         In Fumelus v. Experian Info. Sols., Inc., No. CV 18-10237, 2019 WL 1509140, at *4

 (D.N.J. Apr. 5, 2019) the Court found that “The Amended Complaints allege that Diamond

 Resorts reported the account as ‘open’ when it was actually ‘charged off’, and reported that the

 loan balance was ‘$10,883’ when it was really ‘$8,037.97.’ … These allegations plausibly

 support a conclusion that Diamond Resorts furnished inaccurate information.” Fumelus v.

 Experian Info. Sols., Inc., No. CV 18-10237, 2019 WL 1509140, at *4 (D.N.J. Apr. 5, 2019) also

 see Turner v. Wells Fargo Dealer Servs., Inc., No. 117CV01257TCBCMS, 2017 WL 8220605,

 at *4 (N.D. Ga. Oct. 23, 2017), report and recommendation adopted, No. 1:17-CV-1257-TCB,

 2017 WL 8222344 (N.D. Ga. Nov. 13, 2017). “In short, 15 U.S.C. § 1681s-2(b) requires, among

 other things, the ‘complete and accurate post-dispute reporting of debts.’ Unlike a furnisher’s

 obligations under § 1681s-2(a), the obligations under § 1681s-2(b) are enforceable by a private

 right of action by a consumer.” See Coulter v. Pennsylvania Higher Educ. Assistance Agency,

 No. 5:17-CV-03689, 2018 WL 2216205, at *2 (E.D. Pa. May 15, 2018) (quoting Seamans v.

 Temple Univ., 744 F.3d 853, 866-67 (3d Cir. 2014)).

        This case goes even further than Fumelus and falls in line infra with Coulter and

 Seamans; Plaintiff no longer owed Defendants any debt whatsoever, Plaintiff disputed the

 inaccurate report with the credit reporting agency (the “CRA”) as “account is settled,” and yet

 Defendants insisted on further reporting that the debt as owed. (ECF 21-5). In this circumstance,




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 Defendant violated 15 U.S.C. § 1681s-2(b) which requires a complete and accurate post-dispute

 reporting of debts and this action is enforceable through a private cause of action.

         Point VI: as explained earlier in POINT III, Resurgent Holdings cannot eviscerate itself

 from the liabilities committed by operating under the name of Cach.

         Point VII: Contrary to the Defendants collective misrepresentations, all the acts material

 to this case accrued or occurred in the State of New Jersey. 28 U.S.C.A. § 1391(b)(2).

         In addition, Resurgent Capital is registered to do business in the State of New Jersey.

 (Exhibit 3). Also, Cach LLC is registered to do business in the State of New Jersey. (Exhibit 4).

 To the extent that Resurgent Holding became the successor of Cach, Resurgent Holding cannot

 bail from the State of New Jersey for its failure to register with the State as a foreign corporation,

 when in fact Resurgent Holding has acted in the name of Cach and pestered Plaintiff over a

 resolved debt. 28 U.S.C.A. § 1391(b)(1), (d).



                                           CONCLUSION
         WHEREFORE Plaintiff requests that the Court enter an order denying the Defendants

 motion to dismiss and granting to Plaintiff such other and further relief including reserving

 Plaintiff’s right to seek leave to further amend the complaint if deemed necessary to better reflect

 the facts of this case.

 Dated: Valley Stream, New York
        July 14, 2019

                                                       Respectfully submitted,
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                                                               Lawrence Katz
                                                        /s/
                                                        By:    Lawrence Katz, Esq.,




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